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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

YARISA LEWIS,                                 :
                                              :         Case No. 20-cv-03159-JMY
                 Plaintiff                    :
                                              :
       v.                                     :
                                              :
EXPERIAN INFORMATION                          :
SERVICES, INC., ET AL,                        :
                                              :
                 Defendants                   :

                    ORDER FOR TELEPHONIC RULE 16 CONFERENCE

       AND NOW, this 6th day of November, 2020, it is hereby ORDERED that a Fed. R. Civ.

P. 16 conference shall be held on December 2, 2020, at 2:00 p.m. Counsel are to appear

telephonically and will be notified via e-mail with instructions on how to participate remotely.

       It is FURTHER ORDERED as follows:

       1. The parties shall make the required initial disclosures pursuant to Fed. R. Civ. P. 26(a)

            within 14 days of the date of this Order.

       2. The parties shall commence discovery immediately and shall have conducted

            substantial discovery before the Rule 16 conference.

       3. After consultation with counsel for all parties, counsel shall complete the required Joint

            Report of Rule 26(f) Meeting and file the same with the Clerk of Court at least 5 days

            prior to the Rule 16 conference. Counsel shall incorporate all the information described

            in     Judge      Younge’s    form     Report,        which      can   be   found      at

            http://www.paed.uscourts.gov/judges-info/district-court-judges/john-milton-younge

                                                        BY THE COURT:

                                                        /s/ John Milton Younge

                                                                Judge John Milton Younge
